







		NO. 12-08-00240-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




J.D. TODD, JR.,§
	APPEAL FROM THE 294TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	VAN ZANDT COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant was convicted of the offense of indecency with a child.  We have received the trial
court's certification showing that this is a plea bargain case and Appellant has no right to appeal. See
Tex. R. App. P. 25.2(d).  The certification is signed by Appellant and his counsel.  Accordingly, the
appeal is dismissed for want of jurisdiction.

Opinion delivered June 11, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.











(DO NOT PUBLISH)


